                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  DOUGLAS V. KILLINS,                              )
                                                   )
                Petitioner,                        )
                                                   )
  v.                                               )
                                                   )       No. 3:20-CV-00347-JRG-HBG
  MIKE PARRIS and                                  )
  STATE OF TENNESSEE,                              )
                                                   )
                Respondents.                       )

                                      JUDGMENT ORDER

        In accordance with the Memorandum Opinion entered today, the petition for a writ of

 habeas corpus [Doc. 6] and motion for preliminary injunction [Doc. 10] are DENIED, and this

 action is DISMISSED WITH PREJUDICE. A certificate of appealability from this decision is

 DENIED.

        Further, the Court CERTIFIED in its Memorandum Opinion that any appeal from this

 action would not be taken in good faith and would be totally frivolous, and therefore, Petitioner is

 DENIED leave to proceed in forma pauperis on any subsequent appeal. See Fed. R. App. P. 24.

        So ordered.

        ENTER:


                                                      s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE



 ENTERED AS A JUDGMENT:

       s/ John L. Medearis
       District Court Clerk




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